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                           UNITED STATES DISTRICT COURT
                           NORTHERN DISTRICT OF GEORGIA
                                 ATLANTA DIVISION

TRACY WALKER,

       Plaintiff,

       v.                                                  Case No. 1:14-cv-03823-MHC-JFK

PORTFOLIO RECOVERY
ASSOCIATES, LLC,

       Defendant.


                                   NOTICE OF SETTLEMENT

       NOW COMES Plaintiff, TRACY WALKER (“Plaintiff”), by and through the

undersigned counsel, and hereby informs the Court that a settlement of the present matter has

been reached and all parties to the present matter are currently in the process of executing the

aforementioned settlement agreement, which Plaintiff anticipates will be completed within the

next 60 days.

       Plaintiff therefore requests that this Honorable Court vacate all dates currently set on

calendar for the present matter.



DATED: March 17, 2015                     RESPECTFULLY SUBMITTED,

                                      By: /s/ Shireen Hormozdi
                                            Shireen Hormozdi, Esq.
                                            Attorney for Plaintiff
                                            Krohn & Moss, Ltd.
                                            10474 Santa Monica Blvd., Suite 405
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                                    NOTICE OF SETTLEMENT                                      1
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                                CERTIFICATE OF SERVICE

       I hereby certify that on March 17, 2015, I electronically filed the foregoing Notice of

Settlement with the Clerk of the Court by using the CM/ECF System. A copy of said Notice was

submitted to all parties by way of the Court’s CM/ECF System.




                                           By:       /s/ Shireen Hormozdi
                                                     Shireen Hormozdi
                                                     Attorney for Plaintiff




                                  NOTICE OF SETTLEMENT                                           2
